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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

                                  GRAND ruRYN-24-2

UNITED STATES OF AMERICA                  CRIMINAL No. 3 :24CM2$(SRUXRMS)

               V
                                          VIOLATIONS:

                                          21 u.S.C. $$ 8a1(a)(1), 841(b)(1)(A)(viii),
LINDSEY EDWARDS, a.k.a. "G-ride,"         841 (bX1XB)(viii), 841 (bX1XC), and 846
PARIS HUCKABY, ANd                        (Conspiracy to Distribute and to Possess with
ANTHONY PRIMAVERA                         Intent to Distribute Controlled Substances)

                                          21 u.s.c. $$ 8a1(aXl) and 841(b)(1)(B)(viii)
                                          (Possession with Intent to Distribute and
                                          Distribution of Methamphetamine)

                                          18 u.s.c. $ e2a(c)(1)(A)(i)
                                          (Carrying and Using a Firearm During and in
                                          Relation to a Drug Trafficking Crime)

                                          18  U.S.C. $ $ 93 3 (aX1 ), 933(a)(2), 933 (a)(3),
                                          and 933(b)
                                          (Firearms Traffi cking - Conspiracy)

                                          18 U.S.C. $$ e33(a)(1) and e33(b)
                                          (Firearms Trafficking - Transfer)

                                          18 u.S.C. $$ e22(gx1) and e2a(a)(8)
                                          (Felon in Possession of Firearm and
                                          Ammunition)

                                             18 U.S.C. $ 2
                                          (Aiding and Abetting)


                               SUPERSEDING INDICTMENT

      The Grand Jury charges




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                                          COUNT ONE
                          (Conspiracy to Distribute and to Possess with
                    Intent to Distribute Methamphetamine and Metonttazene)

        1   .   From in or about April2024 through in or about November 2024, the exact dates

being unknown to the Grand Jury, in the District of Connecticut and elsewhere, the defendants,

LINDSEY EDWARDS, a.k.a. "G-ride," and PARIS HUCKABY, together with others known and

unknown to the Grand Jury, did knowingly and intentionally conspire to violate the narcotics laws

of the United States.

       2.       It was apart and an object of the conspiracy that the defendants, EDWARDS and

HUCKABY, together with others known and unknown to the Grand Jury, would distribute and

possess with intent to distribute controlled substances, namely, a mixture and substance containing

a detectable amount of methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II

controlled substance, and a mixture and substance containing a detectable amount of N,N-diethyl-

2-(2-(4-methoxybenzyl)-5-nitro-1H-benzimidazol-1-yl)ethan-1-amine          ("metonitazene"), a

Schedule I controlled substance, in violation of Title 21, United States Code, Section 841(a)(1).

                 Ouantities of Controlled Substances Invol ved in the Consniracv

        3.      The defendants LINDSEY EDWARDS, a.k.a. "G-ride," and PARIS HUCKABY

knew and reasonably should have foreseen from his and her own conduct and that of other

members ofthe narcotics conspiracy charged in Count One that the conspiracy involved 500 grams

or more of a mixture and substance containing a detectable amount of methamphetamine, its salts,

isomers, and salts of its isomers, a Schedule II controlled substance , and a mixture and substance

containing a detectable amount of metonitazene, a Schedule I controlled substance, in violation of

Title21, United States Code, Sections 841(bX1XA)(viii) and 841(b)(1)(C).




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       All in violation of Title 21, United States Code, Section 846.

                                           COUNT TWO
            (Possession with Intent to Distribute and Distribution of Methamphetamine)

       4.       On or about May 21,2024, in the District of Connecticut, the defendant LINDSEY

EDWARDS, a.k.a. "G-ride," did knowingly and intentionally possess with intent to distribute, and

did distribute, 50 grams or more of a mixture and substance containing a detectable amount of

methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled substance.

       In violation of Title 21, United States Code, Sections 8a1(a)(1) and 841(b)(1)(B)(viii).

                                           COTINT THREE
            (Possession with Intent to Distribute and Distribution of Methamphetamine)

       5.       On or about September 5, 2024, in the District of Connecticut, the defendants

LINDSEY EDWARDS, a.k.a. "G-ride," and PARIS HUCKABY, did knowingly and intentionally

possess with intent to distribute, and did distribute, 500 grams or more of a mixture and substance

containing a detectable amount of methamphetamine, its salts, isomers, and salts of its isomers, a

Schedule II controlled substance.

       In violation of Title 21, United States Code, Sections 8a1(a)(1) and 841(b)(1)(A)(viii), and

Title 18, United States Code, Section 2.

                                           COLTNT FOUR
                                (Firearm Trafficking - Conspiracy)

       6.       From in or about October 2024 tluough in or about November 2024, the exact dates

being unknown to the Grand Jury, in the District of Connecticut and elsewhere, the defendants

LINDSEY EDWARDS, a.k.a. "G-ride," and ANTHONY PRIMAVERA, together with Matthew

Santos, who is not named as a defendant herein but is charged by separate indictment, and others

known and unknown to the Grand Jury, did knowingly and intentionally conspire to violate the

firearms laws of the United States.


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         7.       It was apart and an object of the conspiracy that the defendants, EDWARDS and

PRIMAVERA, together with Santos and others known and unknown to the Grand Jury, knowingly

and intentionally agreed to ship, transport, transfer, cause to be transported, receive from another

person, and otherwise dispose of firearms to another person in and otherwise affecting interstate

and foreign commerce, knowing and having reasonable cause to believe that the use, carrying,

possession, and receipt of the firearm by the recipient would constitute a felony, as defined in Title

18, United States Code, Section 932(a), in violation of Title 18, United States Code, Sections

e3 3 (a)( 1 ) and 933 (a)(2).


         All in violation of Title 18, United States Code, Sections 933(aX3) and 933(b).

                                           COI.INT FIVE
                                  (Firearms Trafficking - Transfer)

         8.       On or about October 2, 2024, in the District of Connecticut, the defendants

LINDSEY EDWARDS, a.k.a. "G-ride," and ANTHONY PzuMAVERA, and Matthew Santos,

who is not named as a defendant herein but is charged by separate indictment, did ship, transport,

transfer, cause to be transported, or otherwise dispose of a firearm, to wit: a Beretta Model M9,

.22 caliber pistol, bearing serial number 8M063634, to another person, in and otherwise affecting

interstate and foreign commerce, knowing and having reasonable cause to believe that the use,

carrying, and possession of the firearm by the other recipient would constitute a felony, as defined

in Title 18, United States Code, Section 932(a).

         In violation of Title 18, United States Code, Sections 933(a)(1) and 933(b), and Section 2.

                                            CO{.INT SIX
                                 (Felon in Possession of a Firearm)

         9.       On or about October 2, 2024, in the District of Connecticut, the defendant

LINDSEY EDWARDS, a.k.a. "G-ride," having been, and knowing that he had been, previously



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convicted in the Superior Court of the State of Connecticut of a crime punishable by imprisonment

for a term exceeding one year, specifically

                 a. Criminal Weapon Possession, in violation of Connecticut General Statutes
                     $ 53a-217, on or about August 16,2010;

                 b. Sale of Illegal Drugs, in violation of Connecticut General Statutes $2la-278(b),
                     on or about May 16, 2003;

                 c   Sale of Narcotics, in violation of Connecticut General Statutes $ 2la-277(a), on
                     or about March 9,1998; and

                 d. Sale of Narcotics, in violation of Connecticut General Statutes $ 2la-277(a), on
                     or about November 26, 1997,

did knowingly possess a firearm in and affecting commerce, namely, a Beretta Model M9, .22

caliber pistol, bearing serial number BM063634, which had been shipped and transported in

interstate and foreign commerce.

       In violation of Title 18, United States Code, Sections 922(g)(I) and924(a)(8).

                                          COTINT SEVEN
             (Possession with Intent to Distribute and Distribution of Methamphetamine)

       10.       On or about October 9, 2024, in the District of Connecticut, the defendant

LINDSEY EDWARDS, a.k.a. "G-ride," did knowingly and intentionally possess with intent to

distribute, and did distribute, 50 grams or more of a mixture and substance containing a detectable

amount of methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled

substance.

       In violation of Title 21, United States Code, Sections 8a1(a)(1) and 841(b)(1)(B)(viii).

                                           COLINT EIGHT
                             (Carrying and Using a Firearm During and
                              in Relation to a Drug Trafficking Crime)

        11.      On or about October 9,2024, in the District of Connecticut, the defendant

LINDSEY EDWARDS, a.k.a. "G-ride," did knowingly carry and use a firearm during and in

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relation to a drug trafficking crime for which he may be prosecuted in a court of the United States,

that is, Possession with Intent to Distribute and Distribution of Methamphetamine, in violation of

Trtle2l,United States Code, Sections 8a1(a)(1) and 841(b)(1)(B)(viii), as setforthinCount Seven

of this Superseding Indictment.

         In violation of Title 18, United States Code, Section 92a(c)(1)(A)(i).

                                         COUNT NINE
                              (Felon in Possession of Ammunition)

        12.    On or about October 9, 2024, in the District of Corurecticut, the defendant

LINDSEY EDWARDS, a.k.a. "G-ride," having been, and knowing that he had been, previously

convicted in the Superior Court of the State of Connecticut of a crime punishable by imprisonment

for a term exceeding one year, specifically:

               a. Criminal Weapon Possession, in violation of Connecticut General Statutes
                   $ 53a-2I7, on or about August 16,2010;

               b. Sale of Illegal Drugs, inviolation of Connecticut General Statutes $2la-278(b),
                   on or about May 16, 2003;

               c   Sale of Narcotics, in violation of Connecticut General Statutes $ 2Ia-277(a), on
                   or about March 9, 1998; and

               d. Sale of Narcotics, in violation of Connecticut General Statutes $ 2la-277(a), on
                   or about November 26,7997,

did knowingly possess eight rounds of ammunition in and affecting commerce, including three

rounds of 9mm Hornady ammunition, four rounds of Federal Premium, a.k.a. F.C., 9mm

ammunition, and one round of PPU 9mm ammunition, all of which had been shipped and

transported in interstate and foreign commerce.

       In violation of Title 18, United States Code, Sections 922(g)(I) and 92a(ax8).




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                                             COUNT TEN
             (Possession with Intent to Distribute and Distribution of Methamphetamine)

        13.      On or about October 25, 2024, in the District of Connecticut, the defendants

LINDSEY EDWARDS, a.k.a. "G-ride," and PARIS HUCKABY, did knowingly and intentionally

possess with intent to distribute 500 grams or more of a mixture and substance containing a

detectable amount of methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II

controlled substance.

       In violation of Title 2I,United States Code, Sections 8a1(a)(1) and 841(b)(1)(A)(viii) and

Title 18, United States Code, Section 2.

                                   FORFEITURE ALLEGATION
                                  (Controlled Substances Offenses)

        14. Upon conviction of one or more of the controlled substances offenses alleged in
Counts One, Two, Three, Seven, and Ten of this Superseding Indictment, the defendants

LINDSEY EDWARDS, a.k.a. "G-ride," and PARIS HUCKABY, shali forfeit to the United States,

pursuant to Title 2l,IJnited States Code, Section 853, all right, title, and interest in any properly

constituting, or derived from, proceeds obtained, directly or indirectly, as a result of the violations

of Title 21, United States Code, Sections 841 and 846, and any property used, ot intended to be

used, in any manner or part, to commit, or to facilitate the commission of the said violations and a

sum of money equal to the total amount of proceeds obtained as a result of the offenses.

        15   .   If any of the above-described forfeitable property, as a result of any act or omission

ofthe defendants, cannot be located upon the exercise ofdue diligence, has been transferred, sold

to, or deposited with a third party, has been placed beyond the jurisdiction of the court, has been

substantially diminished in value, or has been commingled with other property which cannot be

divided without difficulty, it is the intent of the United States, pursuant to Title 2l,United States



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Code, Section 853(p), to seek forfeiture of any other property of the defendants up to the value of

the forfeitable properly described above.

       All in accordance with Title 21, United States Code, Sections 853 and 881, and Rule
32.2(a) of the Federal Rules of Criminal Procedure.

                                 FORFEITURE ALLEGATION
                                     (Firearms Offenses)

       16.     Upon conviction of one or more of the firearms offenses alleged in Counts Six,

Eight, and Nine of this Superseding Indictment, the defendant LINDSEY EDWARDS, a.k.a. "G-

ride," shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d)

and Title 28, United States Code, Section 246I(c), all firearms and ammunition involved in the

commission of the offenses, including but not limited to the following: a Beretta Model };49, .22

caliber pistol, bearing serial number 8M063634 seized on or about October 2,2024 in New Haven,

Connecticut; and a polymer 80 firearm with no serial number, a magazinq and eight rounds of

ammunition, including three rounds of 9mm Homady ammunition, four rounds of Federal

Premium, a.k.a. F.C., 9mm ammunition, and one round of PPU 9mm ammunition, all of which

were seized on or about October 9,2024 in New Haven, Connecticut.

        All in accordance with Title 18, United States Code, Section 92a@);Title 2I, United
States Code, Section 853; Title 28, United States Code, Section 2461(c); and Rule 32.2(a) of the

Federal Rules of Criminal Procedure.

                                 FORFEITURE ALLEGATION
                                 (Firearms Traffi cking Offenses)

       17.     Upon conviction of one or more of the firearms trafficking offenses alleged in

Counts Four and Five of this Superseding Indictment, the defendants LINDSEY EDWARDS,

a.k.a. "G-ride," and ANTHONY PRIMAVERA, shall forfeit to the United States, pursuant to Title



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18, United States Code, Sections 924(d) and934 and Title 28, United States Code, Section 2461(c),


all right, title, and interest in any property constituting, or derived from, proceeds obtained, directly

or indirectly, as a result of the violations of Title 18, United States Code, Sections 933(a)(1),

933(a)(2), and 933(a)(3), and any property used, or intended to be used, in any manner or part, to

commit, or to facilitate the commission of, those violations, including but not limited to the

following: a Beretta Model }l/:9, .22 caliber pistol, bearing serial number BM063634 seized on or

about October 2,2024 in New Haven, Connecticut; and a polymer 80 firearm with no serial

number, a magazine, and eight rounds of ammunition, including three rounds of 9mm Homady

ammunition, four rounds of Federal Premium, a.k.a. F.C., 9mm ammunition, and one round of

PPU 9mm ammunition, all of which were seized on or about October 9,2024 in New Haven,

Connecticut.




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       All in accordance with Title 18, United States Code, Sections 924(d) and934;Ti|le2l,
United States Code, Section 853; Title 28, United States Code, Section 246I(c); and Rule 32.2(a)

of the Federal Rules of Criminal Procedure.

                                                    A TRUE BILL




UNITED STATES OF AMEzuCA




DAVID X. SULLIVAN
                     S
       STATES ATTORNEY



                LEVICK
                       STATES ATTORNEY




         KEEFE
ASSISTANT LINITED STATES ATTORNEY




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